






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-10-00458-CV






John Stritzinger, Appellant


v.


Katherine Wright, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-FM-04-004690, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		In this cause, John Stritzinger appealed from a July 9, 2010, "Order Granting
Katherine Wright's Motion to Quash and for Protective Order" and a July 21, 2010, "Order
Requiring John Stritzinger to Seek Court Approval Prior to Requesting Issuance of a Subpoena." 
Appellee Katherine Wright filed a motion to dismiss this appeal for want of subject-matter
jurisdiction, urging that neither of the orders on appeal is final and appealable and that the legislature
has not granted this Court appellate jurisdiction over these types of interlocutory orders.  Stritzinger
has filed a series of motions in which he has at times requested dismissal, and at times opposed it. 		First, Stritzinger filed a motion to dismiss his appeal, explaining that "such matter
is currently being addressed with the trial court."  He further requested that we seal the appellate
record in this cause. (1)  Wright opposed Stritzinger's motion to seal.  Subsequently, Stritzinger filed
a motion to withdraw his motion to dismiss, as well as a motion to consolidate this cause with
another cause, 03-10-00651-CV, in which Stritzinger has appealed another interlocutory
district&nbsp;court order from the same underlying child-custody proceeding.  Thereafter, Stritzinger
reversed course and filed a "First Amended Motion to Dismiss"in which he again seeks to
voluntarily dismiss this appeal and to seal the record.

		We grant Stritzinger's First Amended Motion to Dismiss to the extent of dismissing
his appeal in Cause No. 03-10-00458-CV, see Tex. R. App. P. 42.1(a)(1), but deny his request to seal
the record.  We dismiss as moot the parties' other pending motions in this cause.



						__________________________________________

						Bob Pemberton, Justice

Before Chief Justice Jones, Justices Puryear and Pemberton

Dismissed on Appellant's Motion

Filed:   December 15, 2010

1.   This motion also requested that we seal the records in two other of his appeals that we
have&nbsp;dismissed for want of subject-matter jurisdiction, Cause Nos. 03-10-00456-CV and -00457.
Stritzenger has also requested the same relief via separate motions filed in each of those causes.  We
have disposed of all of his sealing motions pertaining to 03-10-00456-CV and -00457 by separate
order.

